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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

Black Gold Oilfield Services LLC, a/k/a      )
Black Gold Oil Field Services, LLC,          )
                                             )
               Plaintiff,                    )       ORDER
                                             )
       vs.                                   )
                                             )
The Grand Majestic Lodge LLC, John           )
Souza and Carolyn Souza,                     )       Case No. 1:20-cv-044
                                             )
               Defendants.                   )


       On November 3, 2021, the parties filed a Stipulation for Dismissal. The court ADOPTS the

stipulation (Doc. No. 87). The above-captioned action is DISMISSED with prejudice and on the

merits and without costs or disbursements or attorney’s fees to any party.

       IT IS SO ORDERED.

       Dated this 4th day of November, 2021.

                                                     /s/ Clare R. Hochhalter
                                                     Clare R. Hochhalter, Magistrate Judge
                                                     United States District Court
